                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In re:                                                        Case No. 20-43316

CATHY G. LONG,                                                Chapter 13

               Debtor.                                        Judge Thomas J. Tucker

______________________________________/

                 ORDER GRANTING DEBTOR’S MOTION TO EXTEND
                    THE AUTOMATIC STAY, WITH CONDITIONS

        This case was scheduled for a hearing to be held on March 26, 2020, on the motion by the
Debtor to extend the stay (Docket # 6). The Court has reviewed the motion and related papers,
and other parts of the record in this case, including the Debtor’s proposed plan and the Debtor’s
schedules. The Court notes that the Chapter 13 Trustee does not object to the motion, and does
not request any conditions. No creditor has filed an objection. Subject to the right of any
creditor to object after the entry of this Order, stated below, the Court finds that a hearing on the
motion is not necessary; that a hearing should not occur due to the temporary closing of this
Court’s facilities in Detroit that became effective on March 25, 2020, due to problems related to
the ongoing Coronavirus pandemic; that there is no statutory presumption of a bad faith filing in
this case; and that the Debtor filed the current case in good faith as to all creditors.

         Accordingly,

       IT IS ORDERED that: (1) the motion is granted; and (2) the automatic stay under 11
U.S.C. § 362(a) is extended as to all creditors beyond the initial 30 days of this case under 11
U.S.C. § 362(c)(3), and will continue in effect as to all creditors, unless and until otherwise
ordered, or until and to the extent the stay is modified, conditioned, or terminated under a
provision of the Bankruptcy Code other than 11 U.S.C. § 362(c)(3).

         IT IS FURTHER ORDERED that the following conditions are imposed under 11 U.S.C.
§ 362(c)(3)(B): (1) Debtor counsel must immediately serve a copy of this Order on all creditors,
and then promptly file a proof of such service. The extension of the automatic stay as provided
in this Order is not effective until such proof of service is filed. Because no hearing was held
on March 26, 2020, any creditor may file and serve, within 21 days after service of this Order, an
objection to the motion to extend the stay and/or to this Order. If such an objection is timely
filed, the Court will schedule a hearing and determine whether to vacate or modify this Order
based on the merits of the objection(s).




   20-43316-tjt     Doc 21     Filed 03/26/20     Entered 03/26/20 12:05:36         Page 1 of 2
Signed on March 26, 2020




                                            2


   20-43316-tjt   Doc 21   Filed 03/26/20   Entered 03/26/20 12:05:36   Page 2 of 2
